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16                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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                                 SAN FRANCISCO/OAKLAND DIVISION
18
     LESLIE BERLAND,                                 Case No. 24-cv-07589
19
                    Plaintiff,                       PLAINTIFF’S [PROPOSED] SUR-REPLY
20
                                                     IN OPPOSITION TO DEFENDANTS’
21   vs.                                             MOTION TO DISMISS THE
                                                     COMPLAINT’S SECOND CAUSE OF
22   X CORP., f/k/a TWITTER, INC., X                 ACTION
23   HOLDINGS, ELON MUSK, LINDSAY
     CHAPMAN, DHRUV BATURA, BRIAN                    Date: April 24, 2025
24   BJELDE, and TWITTER, INC. CHANGE OF             Time: 10:00 a.m.
     CONTROL AND INVOLUNTARY                         Place: Courtroom 8
25                                                   Judge: Hon. Jacqueline Scott Corley
     TERMINATION PROTECTION POLICY,
26
27                  Defendants.

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                                                                     Case No. 24-cv-07589-JSC
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 1          Defendants’ Reply relies extensively on a Sixth Circuit case—Kramer v. Am. Elec.
 2   Power Exec. Severance Plan, 128 F.4th 739 (6th Cir. 2025)—which was decided on
 3   February 10, 2025, six days after Plaintiff filed her Opposition. Kramer held that a severance
 4   plan was “maintained . . . to provide deferred compensation,” Kramer, 128 F.4th at 747, and
 5   was thus a “top hat” plan, where the benefits were to be paid in “installments” over a one-year
 6   period following the termination. Id. (payments made at six months and then “in 13 equal bi-
 7   weekly installments on the . . . regular payroll dates,” such that “at least one year will pass
 8   between the time [plan participants] acquire the right to compensation and when the final
 9   installment becomes payable”). Kramer’s holding does not answer the question raised by
10   Defendants’ Motion to Dismiss—whether the “lump-sum” change-of-control severance plan at
11   issue here was maintained “primarily for the purpose of providing deferred compensation.”
12   29 U.S.C. § 1051(2). And Defendants’ broad reading of Kramer’s language beyond the facts in
13   that case is unpersuasive.
14          First, unlike the plan at issue in Kramer, the Plan here has no extended “payment
15   schedule” tied to “regular payroll dates.” Kramer, 128 F.4th at 747. Rather, the Plan here
16   provides for an immediate, lump-sum payment as soon as the participant’s release becomes
17   effective (so, 61 days after termination). (ECF No. 1-2 at 1-2.) This difference is significant, as
18   a plan can be a top hat plan only if it provides “deferred compensation.” Kramer held that a
19   severance plan provided for “deferred compensation” where it provided for compensation to be
20   paid at regular intervals (including on 13 “regular payroll dates”) over the course of the year
21   following termination, Kramer, 128 F.4th at 747; it does not say anything about whether a
22   lump-sum payment made upon termination is “deferred compensation.” Nor is such a payment
23   “deferred compensation.” As the Third Circuit explained in Accardi v. IT Litig. Tr. (In re IT
24   Grp., Inc.), 448 F.3d 661 (3d Cir. 2006)—a case on which Kramer relies, see Kramer, 128 F.4th
25   at 747—the “main purpose” of a deferred compensation plan “is to defer the payment of taxes.”
26   In re IT Grp., Inc., 448 F.3d at 664. An immediate payout upon termination is not “deferred”
27   and certainly cannot have the purpose of deferring taxes, because the participant had no right to
28   receive the payment before termination, and therefore faced no risk of taxation based on actual

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 1   or constructive receipt of the funds.
 2          Second, Defendants overread Kramer to suggest that every executive severance plan is
 3   “primarily for the purpose of providing deferred compensation” under ERISA, 29 U.S.C. §
 4   1051(2). Although the Sixth Circuit does appear to have erred by conflating compensation that
 5   is contingent (as in a plan to provide compensation upon the occurrence of a termination under
 6   specified circumstances) with compensation that is deferred (as in a plan to reduce taxes by
 7   deferring income),1 neither Kramer nor the cases on which it relies suggest that any future
 8   compensation is “deferred compensation” regardless of the reason for the compensation or the
 9   contingencies under which it will be paid. For instance, in Duggan v. Hobbs, 99 F.3d 307 (9th
10   Cir. 1996), another case on which Kramer relies, the Ninth Circuit held that a severance
11   agreement was a plan of deferred compensation because it provided lifetime retirement
12   benefits—specifically, the arrangement negotiated in Duggan gave the employee the right to
13   receive lifetime income “in consideration for [his] . . . years of loyal service” and certain
14   waivers of claims. Id. at 309. Thus, neither Duggan nor Kramer stands for the proposition that
15   all future payments are a form of deferred compensation.2
16          Nor would such a broad reading of Kramer make sense. Extending the term “deferred
17   compensation” to any contingent future payments would mean that plans such as
18   employer-sponsored life insurance or death benefit plans, disability benefit plans, and long-term
19   care benefit plans would all be rendered plans of “deferred compensation.” This makes no
20
     1
       A plan that primarily provides for contingent compensation is not a top hat plan because it is
21   not “maintained by an employer primarily for the purpose of providing deferred compensation.”
22   29 U.S.C. § 1051(2). The plan at issue in Kramer was maintained to pay compensation upon the
     occurrence of a specified future contingency. Indeed, Plaintiff Derek Kramer did not receive any
23   compensation under the plan because the contingency didn’t occur—the administrator found that
     he was fired “for cause” and therefore could not receive benefits under the contingency
24   requirements of the plan. Kramer, 128 F.4th at 744, 750. Thus, respectfully, the Sixth Circuit
25   erred when it concluded that the plan in Kramer was a top hat plan.
     2
26     The other two cases that Kramer relies on, Pane v. RCA Corp., 868 F.2d 631 (3d Cir. 1989) and
     Am. Int’l Grp., Inc. v. Guterman, 496 F. App’x 149 (2d Cir. 2012), do not contain any detailed
27   factual analysis regarding the ERISA plans at issue. Therefore, these two cases do not shed light
     on whether the Plan at issue is a top hat plan.
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 1   sense. What’s more, because a plan that results in a deferral of income by employees for
 2   periods extending to the termination of covered employment or beyond is a pension plan, see
 3   ERISA, 29 U.S.C. § 1002(2)(a)(ii), such an extension would make all of those plans subject to
 4   the vesting, funding, and other requirements that apply to pension plans—and would also
 5   extend ERISA pension regulation to contingent benefits not currently covered by ERISA. This
 6   outcome would be contrary both to the intent of ERISA to regulate specific types of employee
 7   benefit plans in specific ways, and also to the real-world management of such plans, which
 8   mirrors that intent. See, e.g., Rich v. Shrader, 823 F.3d 1205, 1211 (9th Cir. 2016) (“The mere
 9   possibility that income can be deferred does not mandate ERISA coverage.”); Murphy v. Inexco
10   Oil Co., 611 F.2d 570 (5th Cir. 1980) (“[T]he mere fact that some payments under a plan may
11   be made after an employee has retired or left the company does not result in ERISA
12   coverage.”).
13          As Plaintiff explained in her Opposition, the Plan at issue here provides for contingent
14   compensation, not deferred compensation, and the Plan certainly was not “primarily for the
15   purpose of providing deferred compensation.” (Opp. at 17.) Contrary to Defendants’
16   arguments, Kramer does not affect this conclusion.
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18   Dated: March 17, 2025                        Respectfully submitted,
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                                          By:             /s/ Gabriella E. Bensur
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